   Case: 1:18-cv-04651 Document #: 110 Filed: 11/03/18 Page 1 of 4 PageID #:2546



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

WEIFANG TENGYI JEWELRY                    )
TRADING CO., LTD                          )
                                          )
      Plaintiff,                          )              Case No. 18-cv-4651
                                          )
      v.                                  )              Judge Gary S. Feinerman
                                          )
                                          )              Magistrate Judge Jeffrey Gilbert
                                          )
THE PARTNERSHIPS AND                      )
UNINCORPORATED                            )
ASSOCIATIONS IDENTIFIED ON                )
SCHEDULE “A”                              )
                                          )
                  Defendants.             )
_________________________________________ )

                         NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Weifang

Tengyi Trading Co., Ltd. (“Plaintiff” or “Weifang”) hereby dismisses this action without

prejudice against the following Defendants identified on Schedule A to the Amended Complaint:

Defendant No.    Defendant Name             Defendant No.    Defendant Name
1                1MSUNSHINE                 204              XIA HE
7                AIYANLIVING                210              HUIQIN LI
8                AJWDFDNC                   211              RUNHONG WU
9                Alane Fashion              212              ALANE AMRHEIN
10               ALLURE22                   213              YALI LIU
13               anigaduoshop               216              SHIRONG LENG
14               anjiaxiaopu                217              YANG AN
15               Bansloy                    218              KE ZENG
17               Belloerh                   220              YUEER HE
21               bruss3                     224              CHENGWEI ZHUANG
22               caolinglingcef             225              LINGLING CAO
26               Debbi Factory              229              DEBBI WANAMAKER
 Case: 1:18-cv-04651 Document #: 110 Filed: 11/03/18 Page 2 of 4 PageID #:2547



27           dengmaohad              230            MAO DENG
29           Doncaster               232            JIAJIA YU
31           duyong                  234            YONG DU
33           englis                  236            JINYING YANG
35           fangyijun123            238            YIJUN FANG
36           fanjingyan              239            JINGYAN FAN
39           FoShan-Chouchen         242            ZIQIAN SONG
42           FuShi                   244            SIJIAN FU
47           guhongqiga              249            HONGQI GU
49           haitanyise              250            HAIYUN LIU
50           haibomingpai            251            QIAN PAN
52           HangHai                 253            RUIYING KONG
53           Hbird                   254            SIMEI LUO
56           hejingliyu              257            JINGLI HE
58           HJM010417               259            JIANGMEI HUANG
59           Hotsexy11               260            CHUN SONG
62           Hshakt                  263            WENLI WU
64           huangjiamingivan        265            JIAMING HUANG
65           hujuan                  266            JUAN HU
66           huizhongruwo            267            YUHUI LU
67           Indre Standal           268            XINGDONG WANG
68           IBELformaldress         269            YAN HUANG
69           jiandan47               270            CHUNMEI WU
70           Itigi                   271            JIANHUA HUANG
72           jianghongxiahad         273            HONGXIA JIANG
73           KUMENGLE                274            LIN ZHU
75           leileidaxiaowu          276            LEI GUO
76           lanxiaokeqing           277            WENJING XU
77           lincanyi                278            CANYI LIN
80           lifang3                 281            FANG LI
81           liuweidedin             282            WEI LIU
82           Lingaokedian            283            NA WANG
83           liuyuedfghtrfgt         284            YUE LIU
84           Liuyan Fashion          285            YAN LIU
85           ljmzy                   286            JIANMING LIU
86           lixushop                287            XU LI
89           malinqqqq               290            LIN MA
90           mage123                 291            MEI LI
91           MASexylingeries         292            XIAOYAN MA
92           marongze                293            RONGZE MA
93           MAYING2016              294            YING MA
  Case: 1:18-cv-04651 Document #: 110 Filed: 11/03/18 Page 3 of 4 PageID #:2548



94            Masham                    295          XIAOQIANG ZHOU
95            MoFangTi                  296          FANXIONG MO
96            milincheng                297          TING CHENG
101           panlinhao                 302          LINHAO PAN
102           Orrios                    303          QIUXIA GAO
105           pingfanshizhen            306          LIANCHUN ZHENG
106           piaoliangbaobei           307          JIAYING CHEN
108           Pking808                  309          XINYI HUANG
110           Qilige                    311          TING LI
111           save_money_live_better    312          RAMON LOPEZ
112           roseliu2016               313          SHI LIU
114           SelflessMyHeart           315          LIN ZHU
116           sgkiik                    317          LING WAN
117           shuahsuaku                318          XIAOFENG FENG
120           ShuYongLiang              321          YONGLIANG SHU
123           sundandanxd               324          DANDAN SUN
124           suimingyu                 325          MINGYU SUI
126           sunjie                    327          JIE SUN
127           tianfengyu                328          TINGTING WANG
131           Treesforesy               331          SHUZHOU WANG
134           wanghx6696                334          HUANXIN WANG
135           WarmHeartDS               335          YANSHAN ZHENG
136           WangYue                   336          BAOQIN ZHOU
137           werart                    337          HAIYAN GAO
139           woaitangbao               339          LILI WANG
140           xiaoyan2016               340          YANGE ZHAO
141           xiaozhangnanzhuangdian    341          JING ZHANG
142           xuridongsheng             342          XU HE
143           yangyang zz               343          CAIWEI TANG
145           yishanyishui              345          YANLI YUAN
147           yongshengyongshi          346          YONGSHENG WU
148           yueyuexhq                 347          HAIQIONG XIA
149           zengyikehaf               348          XIAOFANG DIAO
150           zgrdejia                  349          XIAOYU WU
151           zhanghong123              350          HONG ZHANG
152           zhangjman                 351          JUNMAN ZHANG
153           ZHANGZEElectronic         352          LIRONG WANG
154           zhaoyingying              353          YINGYING ZHAO
18            bkbkbk                    221          YONGMING ZHONG
24            d'vrvsvrbstttsr           227          ZHAOXIU YE
38            Fashion Ornaments Store   241          LIPING ZHENG
   Case: 1:18-cv-04651 Document #: 110 Filed: 11/03/18 Page 4 of 4 PageID #:2549



46               Glorous.world              248              ZHONGXIANG YE
55               Higo452                    256              JIN LA
57               horsimeng                  258              SIMENG HAO
103              partydress                 304              GUANGYUE SU
119              Sinoco Intrernatinal       320              JUNJIE WANG
125              Super MT                   326              MENGTING SHI
132              transformer coil diy       332              YOUGEN PENG
144              Yi Fei Department store    344              XIWANG DONG
155              zhengjundian               354              JUN ZHENG
156              ziqi                       355              ZIQI ZHOU
16               Beautydress Co             219              LORA WU
87               luoxiaomei                 288              XIAOMEI LUO
30               Dream of the store         233              LIFENG CHEN
121              store entrance             322              YALING XU
128              The store entrance         329              ZHENLIANG WU
138              Welcome you shopping       338              WANWAN WU



Respectfully submitted this 4th day of November, 2018,

                                                  /s/ L. Ford Banister, II
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